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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,

                        Plaintiffs,
        v.
                                                       Case No. !"-cv-&'(-ABJ
 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


                                      MOTION TO COMPEL

       The defendants claim that they did not violate the preliminary injunction because they

“determined, after a particularized assessment,” that the employees they RIFed were “unnecessary

to the performance of [CFPB’s] statutory duties.” To support this assertion, they submitted a

declaration from Mark Paoletta, the Chief Legal Officer of the CFPB, claiming to have conducted

the required assessment—along with Victoria Dorfman and Daniel Shapiro. Paoletta Decl. ¶ Y.

Yet now, the defendants seek to withhold information related to how they conducted that supposed

assessment under the guise of privilege. They cannot have it both ways. The defendants cannot

rely on Paoletta’s testimony and then shield the documents that would enable the plaintiffs and the

Court to assess that testimony. Given the centrality of Paoletta’s purported assessment to the show-

cause hearing, this Court should reject (or at least investigate in camera) the defendants’ attempts

to hide the discussions regarding this very assessment.

                                        BACKGROUND

       The defendants cannot issue a notice of reduction in force unless they “have determined,

after a particularized assessment,” that the employees receiving the notice are “unnecessary to the



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performance of defendants’ statutory duties.” Stay Order ^. But the day after the D.C. Circuit issued

this order, the defendants began to execute a RIF that, if implemented, would terminate nearly

`a% of the CFPB’s employees.

       The plaintiffs quickly filed a motion asking this Court to issue an order to show cause why

the defendants had not violated its preliminary injunction order. The Court scheduled an

evidentiary hearing, and ordered the defendants to produce discovery responses for up to five

requests for production by noon on Tuesday, April cc. The defendants produced documents in

waves, up to Friday, April cd, and were unable to provide a final privilege log until Sunday, April

ce. In total, across its productions, the defendants withheld or redacted d^ documents.

       First Privilege Log, Ex. A: The withheld documents on the defendants’ first privilege log

relate to three distinct email chains:

        ^. Documents ^-g were sent on April ^h, cacg responding to or forwarding an email titled

“Proposed CFPB RIF List.” Three of the emails are between R. Vought, M. Paoletta*, G. Kliger,

and J. Lewin*.1 The fourth was forwarded from M. Paoletta to A. Martinez. They are uniformly

described as “reflecting confidential predecisional deliberations concerning which positions are

statutorily required, discussions of the litigation, and seeking legal advice concerning that topic.”

Each was withheld on the basis of deliberative process privilege, attorney-client privilege, and

work product.

       c. Documents d, e-^a were sent on the same day in response to an email titled “CFPB RIF

Work.” The emails include, in various combinations, R. Vought, A. Martinez, J. Gueye, M.




       1
         Following the privilege logs, we designate attorneys with asterisks. J. Lewin is not
marked with an asterisk on the first privilege log but is on the second. The same is true for D.
Shapiro. We believe both are attorneys, although the defendants’ production demonstrates that
they were not—or at least not always—acting in a legal capacity.

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Paoletta*, D. Shapiro*, V. Dorfman*, A. Boizelle*, S. Davis, J. Lewin*, G. Kliger, C. Chilbert, J.

Bishop, J. Fox*, and E. McArthur*. The emails are described as “reflecting confidential

predecisional deliberations concerning potential RIF, discussion of the litigation, and seeking legal

advice concerning that topic.” Each was withheld on the basis of attorney-client privilege,

deliberate process privilege, and work product.

       h. Documents ^^-ch are ambiguously titled or responding to “Call.” All but the last of these

emails are between J. Burnham*, M. Paoletta*, J. Mascott*, and A. Boizelle*. These emails are

described as a “chain between attorneys in the Executive Office of the President and Mr. Paoletta

reflecting confidential communication concerning the provision of legal advice regarding potential

RIF in context of litigation.” The defendants assert attorney-client privilege, work product

protection, and presidential-communication privilege. The last email adds D. Shapiro to the

recipients and deliberative-process privilege to the bases for withholding.

       Second Privilege Log, Ex. B: The withheld and redacted documents on the second

privilege log concern a broader mix of documents, which we’ve grouped for the Court’s reference

as follows:2

       ^. Document A appears to relate to the first category of withheld documents above. Second

Privilege Log at ^`. It is an email titled “Proposed CFPB RIF List” sent on April ^h, cacd from J.

Lewin* to M. Paoletta*, R. Vought, and G. Kliger. Unlike above, however, the defendants only

assert attorney-client privilege and work product protection over this document. They do not assert

deliberative process privilege over this document.



       2
         On the second privilege log, there were five unnumbered documents between Document
19 and Document 21. For convenience, we have marked those entries as documents A-D in the
attached privileged logs. There is an additional unmarked document in the defendants’ third
privilege log, which we have marked in that log as Document F. The attached privilege logs are
otherwise unchanged from those the government provided the plaintiffs.

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       c. Documents c-d, `-^h, ^d-^Y, c^-cc, cg, B, and C appear to relate to the second category

of withheld documents above. They are each titled “CFPB RIF Work” and dated April ^h, cacd

(with the exception of Document c^ which is undated). Recipients include R. Vought, A. Martinez,

J. Gueye, M. Paoletta*, D. Shapiro*, V. Dorfman*, A. Boizelle*, S. Davis, J. Lewin*, G. Kliger,

C. Chilbert, and (for some but not all) J. Bishop. As above, defendants assert deliberative process

privilege, attorney-client privilege, and work product protection. Document cY has the same title

and distribution list, but is dated April c^, cacd. It is being withheld on the same three bases.

       h. Document ce is an email titled “CFPB RIF” dated April ^d, cacd from J. Mascott* to R.

Vought, D. Warrington*, and M. Paoletta*. Like the third category of withheld documents above,

the defendants assert the presidential-communication privilege over this document (in addition to

the deliberate-process privilege, attorney-client privilege, and work product protection).

       g. The remaining documents do not fit neatly into a category.

               •   Document ^ is an email titled “Reference Material” sent on February cd, cacd

                   from A. Martinez to A. Stout* for which the defendants assert attorney-client

                   privilege and work product protection. This has been fully withheld.

               •   Document r is an email from V. Dorfman* to A. Martinez on April ^e, cacd

                   with a redacted title for which the defendants assert attorney-client privilege

                   and work product protection.

               •   Document ^e is a copy of handwritten notes taken by J. McClung, a member of

                   the RIF team, from April ^g to April ^Y, cacd for which the defendants assert

                   deliberative process privilege, attorney-client privilege, and work product

                   protection. These notes are redacted.




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              •    Documents ^r-^` are spreadsheets by J. McClung titled “OPS Scenario

                   Planning” from February g and April ^g, cacd for which the defendants assert

                   deliberative process privilege and work product protection. These are redacted

                   (or, more precisely, because these are Excel files, entire tabs have been

                   removed).

              •    Document D is an email titled “Current Litigation” sent from G. Kliger to M.

                   Paoletta* on April ^r, cacd for which the defendants assert attorney-client

                   privilege and work product protection. Second Privilege Log at ^a. This has

                   been withheld.

              •    Another document is an email titled “CFPB Statutory Functions/RIF List”

                   without a date that was sent from J. Lewin* to A. Boizelle*, J. Burnham*, J.

                   Fox*, and A. Raynor* for which the defendants assert attorney-client privilege

                   and work product protection. Second Privilege Log at ^a. This has been

                   redacted.

               •   Document ch is an email titled “CFPB RIF Work” from A. Martinez to V.

                   Dorfman* on April ^e, cacd for which the defendants assert attorney-client

                   privilege. This has been withheld.

Third Privilege Log, Ex. C

       There is only one document on this log. Document F is an email titled “FW: Proposed

CFPB RIF List” from M. Paoletta* to A. Martinez on April ^h, cacd for which the defendants

assert deliberative process and work product privilege. This has been withheld.




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Redactions in Document Produced by Gavin Kliger

        This is not on any of the defendants’ logs, but the defendants informed the plaintiffs today

that they had redacted portions of a document produced by Gavin Kliger, asserting that they are

non-responsive.

                                          ARGUMENT

        To justify their attempt to RIF `a% of the CFPB’s workforce, the defendants rely on Mark

Paoletta’s claim that he, along with Victoria Dorfman and Daniel Shapiro, performed a

particularized assessment.3 But, they claim, documents related to this supposed assessment are

privileged and must be withheld.4 But the defendants cannot rely on Paoletta’s testimony to try to

prove that they conducted the required assessment, while shielding documents that would shed

light on whether that testimony is true. Nor should the Court allow the defendants to shield portions

of non-privileged documents based on their own assessment that those portions are irrelevant.

   I.       The defendants may not use the attorney-client privilege as both a sword and a
            shield.

        1. To invoke the attorney-client privilege, the government bears the burden to “prove,

through detailed and specific information, that the withheld information falls within the domain of

the privilege.” Cause of Action Inst., 330 F. Supp. 3d at 347. The defendants cannot meet this

burden. As an initial matter, it’s not clear that the information they have withheld even involves

legal advice. Document 17 on the second privilege log—redactions from notes taken by a member



        3
          Paoletta has never identified by name the two people assisting him in his supposed
particularized assessment, but the documents they produced make clear that it was Dorfman and
Shapiro.
        4
          Given the expedited nature of this proceeding, the plaintiffs do not currently challenge
the defendants’ assertions of presidential communication privilege (Documents ^^-ch on the first
privilege log and Document ce on the second privilege log). They also are not at this time
challenging the Document cd on the second privilege log. The plaintiffs reserve the right to
challenge these assertions after the hearing.

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of the RIF team—the defendants do not list any lawyer at all. And, for other documents, while the

participants may be lawyers, they may very well not be acting in that role. Mr. Paoletta, for

example, is an attorney, but he also serves as the de facto “chief of staff” of the CFPB. April 10,

2025 Hearing Tr. at 72. And the evidence shows that DOGE, too, is involved in operational

matters. See, e.g., Id. at 138. “[The mere fact that the communication involves a member of the

bar does not end the inquiry.” Citizens for Responsibility and Ethics, 538 F. Supp. 2d at 135. The

privilege “does not extend to a government attorney’s advice on political, strategic, or policy

issues” and does not apply to the extent that a lawyer with mixed responsibilities provides advice

outside of their “professional, legal capacity.” Citizens for Responsibility and Ethics, 538 F. Supp.

2d at 135; see also Am. Immigr. Council v. United States Dep’t of Homeland Sec., 21 F. Supp. 3d

60, 79 (D.D.C. 2014) (citing In re Sealed Case, 737 F.2d 94, 99 (D.C. Cir. 1984)).

       J. Regardless, “the attorney-client privilege is waived when the client places otherwise

privileged matters in controversy.” In re Kellogg Brown & Root, Inc., e`Y F.hd ^he, ^gd (D.C. Cir.

ca^d) (quoting Ideal Elec. Ses. Co. v. Int’l Fidelity Ins. Co., ^c` F.hd ^gh, ^d^ (D.C. Cir. ^``r)); see

also Savignac v. Day, cacd WL hcYd`^, at *g (D.D.C. Jan. c`, cacd) (same). This “implied waiver

doctrine” applies when “the privilege holder makes assertions, the truth of which can only be

assessed by examination of privileged communications.” Savignac, cacd WL hcYd`^, at *g

(quoting Blue Lake Forest Prods. Inc. v. United States, ed Fed. Cl. ee`, erh (caae)). “Stated more

generally, the attorney-client privilege ‘may not be used both as a sword and a shield,’ and, thus,

‘[w]here a party raises a claim which in fairness requires disclosure of the protected

communication, the privilege may be implicitly waived.’” Id.; see also United States v. Bilzerian,

`cY F.cd ^crd, ^c`c (cd Cir. ^``^).




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         The defendants attempt to use Mr. Paoletta’s declaration that he and two other CFPB

lawyers (V. Dorfman and D. Shapiro) conducted a particularized assessment as a sword while

simultaneously attempting to shield the conversations that went into this assessment because of

their legal degrees. See Paoletta Decl. ¶¶ Y-^r. But the defendants cannot “have [their] cake and

eat it too.” Savignac, cacd WL hcYd`^, at *^c. The defendants have waived any attorney-client

privilege that might otherwise attach by placing this purported assessment—and the steps they

took to reach that decision—directly in controversy.

         3. At the very least, this Court should review the documents in camera to determine whether

the privilege applies and, if so, whether the withheld information falls within the waiver

established by Paoletta’s testimony that he conducted an assessment—the very subject the

documents discuss. See, e.g., Citizens for Responsibility and Ethics, 538 F. Supp. 3d at 145-148

(finding privilege inapplicable after in camera review); Cause of Action Institute v. U.S. Dep’t of

Justice, 330 F. Supp. 3d 336, 347 (D.D.C. 2018) (disagreeing with the government’s description

after reviewing in camera).

   II.      The defendants may not rely on Paoletta’s testimony that he conducted a
            particularized assessment and then use the work-product privilege to withhold
            documents about that supposed assessment.

         Relatedly, the attorney work-product doctrine protects “an attorney’s opinions, mental

impressions, or legal theories prepared in anticipation of litigation.” United States v. ISS Marine

Servs., Inc., `ad F. Supp. cd ^c^, ^hh (D.D.C. ca^c). It is “broader than the attorney-client privilege

in that it is not restricted solely to confidential communications between an attorney and client”

but “narrower, however, insofar as the doctrine protects only work performed in anticipation of

litigation or for trial.” FTC v. Boehringer Ingelheim Parma., Inc., eer F.hd ^gc, ^g` (D.C. Cir.

ca^d).




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          As with the attorney-client privilege, however, the protection against disclosure of facts

and opinion, alike, can be waived if the privilege holder puts the matter in controversy. Feld v.

Fireman’s Fund Ins. Co., ``^ F. Supp. cd cgc, cdY (D.D.C. ca^h); cf. In re Kellogg Brown, e`Y

F.hd at ^gd (noting that the two privileges have to be analyzed separately but not holding that

waiver was inapplicable to work product). Waiver of the work product protection is appropriate

where “the privilege holder seeks to use the disclosed material for advantage in the litigation but

to invoke the privilege to deny its adversary access to additional materials that could provide an

important context for proper understanding of the privileged materials.” U.S. Airline Pilots Ass’n

v. Pension Benefit Guaranty Corp., ceg F.R.D. cr, hc (D.D.C. ca^^) (quoting Wright et al., r Fed.

Prac. & Proc. § ca^Y.c (hd ed., ca^a update)). Again, Paoletta’s declaration that he personally

conducted the necessary assessment waives attorney-client privilege, work product protections

likewise cannot shield his assessment from scrutiny.5

   III.       The defendants cannot defend their conduct based on testimony that their
              deliberations constituted a particularized assessment and then assert deliberative
              process privilege over the information needed to evaluate that claim.

          The deliberative process privilege is a form of executive privilege that “allows the

government to withhold documents and other materials that would reveal “advisory opinions,

recommendations and deliberations comprising part of a process by which governmental decisions

and policies are formulated.” In re Sealed Case, ^c^ F.hd at ehe. To apply, the material must be




          5
          Even if the protection has not been waived, the plaintiffs’ need for these documents
requires their disclosure. To the extent that any of the withheld material is fact work product, the
plaintiffs need only demonstrate a “substantial need.” Boehringer, eer F.hd at ^dh. But even if all
of the withheld materials are actually opinion work product, this is the extraordinary case where
the plaintiffs have “extraordinary” need. Id. Whether CFPB leadership in fact conducted a
particularized assessment of whether the CFPB could perform its statutory functions without the
RIF’d employees is at the very heart of this hearing. And the person who claims to have made that
assessment is also claiming privilege over the documents that could demonstrate if that’s true.

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both predecisional and deliberative. Judicial Watch, Inc. v. FDA, gg` F.hd ^g^, ^d^ (D.C. Cir.

caaY).

         Even if the privilege applies, however, it “can be overcome by a sufficient showing of

need.” In re Sealed Case, ^c^ F.hd at ehe. This need determination must be “made flexibly on a

case-by-case, ad hoc basis,” and takes into account factors such as (^) the relevance of the evidence,

(c) the availability of other evidence, (h) the seriousness of the litigation, (g) the role of the

government, and (d) the possibility of future timidity by government employees. Id. In addition,

courts will not allow the government to hide behind this privilege if “there is reason to believe the

documents sought may shed light on government misconduct.” Id.; see also Doe P v. Esper, ca^`

WL gh`grgc, at *` (D.D.C. Sept. ^h, ca^`).

         The balance of these factors weighs heavily in favor of disclosure here. Whether the

defendants conducted a particularized assessment of whether the Bureau could continue to perform

its statutory functions post-RIF is not just important, but central, to the question of whether it can

go forward. And the withheld documents seem to be direct evidence about the assessment they

claimed to have conducted. The litigation is serious, potentially terminating around ^gaa

employees and effectively ending the Congressionally mandated work of a critical consumer-

protection agency. And the government’s very attempt to do so is alleged to have been in violation

of this Court’s order as partially stayed by the D.C. Circuit. As this Court summarized in another

case, “good cause exists for disclosure because of the strong relevance of the evidence to the

ultimate issue the Court must resolve . . ., the limited availability of other evidence, and the

seriousness of the litigation.” United W. Bank v. Off. of Thrift Supervision, rdh F. Supp. cd ^c, ^e-

^r (D.D.C. ca^c).




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   IV.      There is no basis for the defendants to withhold portions of a document as non-
            responsive.

         “There is no express or implied support for the” assertion that “a party [may] scrub

responsive documents of non-responsive information.” Orion Power Midwest, L.P. v. Am. Coal

Sales Co., No. c:ad-CV-ddd, caar WL ggYcha^, at *c (W.D. Pa. Sept. ha, caar). “The Federal

Rules of Evidence favor the complete production of non-privileged evidence if some portion of

the evidence is deemed responsive.” Karnoski v. Trump, No. C^e-^c`e MJP, caca WL cehY`Y^, at

*^ (W.D. Wash. Mar. g, caca) (collecting cases). “To hold otherwise is to permit the producing

party to essentially unilaterally redact otherwise responsive discovery.” Id.

         The defendants may not redact the parts of the document Mr. Kliger produced simply

because they believe those portions are non-responsive.

                                             CONCLUSION

         This Court should review in camera the documents redacted or withheld on the basis of

privilege or simply overrule the assertion of privilege. It should also order the defendants to

produce the portions of Mr. Kliger’s document that are redacted on the basis of nonresponsiveness.



 Dated: April 27, 2025                                Respectfully submitted,

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                                         Employees Union




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                          EXHIBIT A
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                National Treasury Employees Union v. Vought, No. 1:25-cv-00381 (DDC) – Defendants’ First Privilege Log
File Name   BATES   PRODUCTION     DOC     SUBJECT      DATE      FROM              TO             CC           SUBJECT              PRIVILEGE
            RANGE                  TYPE                                                                          MATTER              ASSERTION
1Proposed                         Email    Proposed   Apr. 13,   Lewin, J.     *Paoletta, M.;   Kliger, G.   Email attaching   DPP; ACP; WP
CFPB RIF                                   CFPB RIF   2025                     Vought, R.                    spreadsheet of
List --                                    List                                                              CFPB
WITHHOL                                                                                                      employees and
D IN FULL                                                                                                    positions and
                                                                                                             reflecting
                                                                                                             confidential
                                                                                                             predecisional
                                                                                                             deliberations
                                                                                                             concerning
                                                                                                             which positions
                                                                                                             are statutorily
                                                                                                             required,
                                                                                                             discussions of
                                                                                                             the litigation,
                                                                                                             and seeking
                                                                                                             legal advice
                                                                                                             concerning that
                                                                                                             topic.
2RE_                              Email    RE:        Apr. 13,   *Paoletta,    Lewin, J.;       Kliger, G.   Email chain       DPP; ACP; WP
Proposed                                   Proposed   2025       M.            *Paoletta, M.;                reflecting
CFPB RIF                                   CFPB RIF                            Vought, R.                    confidential
List --                                    List                                                              predecisional
WITHHOL                                                                                                      deliberations
D IN FULL                                                                                                    concerning
                                                                                                             which positions
                                                                                                             are statutorily
                                                                                                             required,
                                                                                                             discussions of
                                                                                                             the litigation,
                                                                                                             and seeking
                                                                                                             legal advice
                                                                                                             concerning that
                                                                                                             topic.
3FW_                              Email    FW:        Apr. 13,   *Paoletta,    Martinez, A.                  Email chain       DPP; ACP; WP
Proposed                                   Proposed   2025       M.                                          reflecting
CFPB RIF                                   CFPB RIF                                                          confidential
List --                                    List                                                              predecisional


                                                                  1
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              National Treasury Employees Union v. Vought, No. 1:25-cv-00381 (DDC) – Defendants’ First Privilege Log

WITHHOL                                                                                                    deliberations
D IN FULL                                                                                                  concerning
                                                                                                           which positions
                                                                                                           are statutorily
                                                                                                           required,
                                                                                                           discussion of the
                                                                                                           litigation, and
                                                                                                           seeking legal
                                                                                                           advice
                                                                                                           concerning that
                                                                                                           topic.
4Re                             Email    Re:        Apr. 13,    Lewin, J.    Lewin, J.;       Kliger, G.   Email chain         DPP; ACP; WP
Proposed                                 Proposed   2025                     *Paoletta, M.;                reflecting
CFPB RIF                                 CFPB RIF                            Vought, R.                    confidential
List 2 --                                List                                                              predecisional
WITHHOL                                                                                                    deliberations
D IN FULL                                                                                                  concerning
                                                                                                           which positions
                                                                                                           are statutorily
                                                                                                           required and
                                                                                                           seeking legal
                                                                                                           advice
                                                                                                           concerning that
                                                                                                           topic.
5CFPB RIF                       Email    CFPB RIF   April 13,   Vought       Martinez, A.;    Bishop, J.   Email reflecting    DPP; ACP; WP
Work --                                  Work       2025                     Gueye, J.;                    confidential
WITHHOL                                                                      *Paoletta, M;                 predecisional
D IN FULL                                                                    Shapiro, D.;                  deliberations
                                                                             *Dorfman, V;                  concerning
                                                                             *Boizelle, A.;                potential RIF,
                                                                             Davis, S.;                    discussion of the
                                                                             Lewin, J.;                    litigation, and
                                                                             Kliger, G.;                   seeking legal
                                                                             Chilbert, C.                  advice
                                                                                                           concerning that
                                                                                                           topic.
7Re_CFPB                        Email    Re: CFPB   April 13,   Lewin, J     *Paoletta, M;    Bishop, J.   Email chain         ACP; DPP; WP
RIF Work -2                              RIF Work   2025                     Shapiro, D.;                  reflecting
--                                                                           Boizelle, A.;                 confidential
                                                                                                           predecisional

                                                                2
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              National Treasury Employees Union v. Vought, No. 1:25-cv-00381 (DDC) – Defendants’ First Privilege Log

WITHHOL                                                                       *Dorfman, V;                  deliberations
D IN FULL                                                                     *Fox, J.                      concerning
                                                                                                            potential RIF,
                                                                                                            discussion of the
                                                                                                            litigation, and
                                                                                                            seeking legal
                                                                                                            advice
                                                                                                            concerning that
                                                                                                            topic.
8 Re_CFPB                       Email    Re: CFPB   April 13,   Boizelle,     Lewin, J;       Bishop, J.    Email chain         ACP; DPP; WP
RIF Work -3                              RIF Work   2025        A             *Paoletta, M;                 reflecting
--                                                                            Shapiro, D.;                  confidential
WITHHOL                                                                       *Dorfman, V;                  predecisional
D IN FULL                                                                     *Fox, J.                      deliberations
                                                                                                            concerning
                                                                                                            potential RIF,
                                                                                                            discussion of the
                                                                                                            litigation, and
                                                                                                            seeking legal
                                                                                                            advice
                                                                                                            concerning that
                                                                                                            topic.
9 Re_CFPB                       Email    Re: CFPB   April 13,   *Paoletta,    *Boizelle, A;   Bishop, J.;   Email chain         ACP; DPP; WP
RIF Work -4                              RIF Work   2025        M.            Lewin, J;       *McArthu      reflecting
--                                                                            Shapiro, D.;    r, E.         confidential
WITHHOL                                                                       *Dorfman, V;                  predecisional
D IN FULL                                                                     *Fox, J.                      deliberations
                                                                                                            concerning
                                                                                                            potential RIF,
                                                                                                            discussion of the
                                                                                                            litigation, and
                                                                                                            seeking legal
                                                                                                            advice
                                                                                                            concerning that
                                                                                                            topic.
10                              Email    Re: CFPB   April 13,   *Paoletta,    Vought, R.;     Bishop, J.    Email chain         ACP; DPP; WP
Re_CFPB                                  RIF Work   2025        M.            Martinez, A.;                 reflecting
RIF Work -5                                                                   Gueye, J.;                    confidential
--                                                                            Shapiro, D.;                  predecisional
                                                                              *Dorfman, V;                  deliberations

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WITHHOL                                                                     *Boizelle, A.;         concerning
D IN FULL                                                                   Davis, S.;             potential RIF,
                                                                            Lewin, J.;             discussion of the
                                                                            Kliger, G.;            litigation, and
                                                                            Chilbert, C.           reflecting legal
                                                                                                   advice
                                                                                                   concerning that
                                                                                                   topic.
11 Call --                     Email    Call       Apr. 15,   *Burnham      *Paoletta, M.;         Email between       ACP; WP; PCP
WITHHOL                                            2025       J.            *Mascott, J.;          attorneys in the
D IN FULL                                                                   *Boizelle, A.          Executive Office
                                                                                                   of the President
                                                                                                   and Mr. Paoletta
                                                                                                   reflecting
                                                                                                   confidential
                                                                                                   communication
                                                                                                   concerning the
                                                                                                   provision of
                                                                                                   legal advice
                                                                                                   regarding
                                                                                                   potential RIF in
                                                                                                   context of
                                                                                                   litigation.
12 Re Call                     Email    Re: Call   Apr. 15,   *Paoletta,    *Burnham, J.;          Email chain         ACP; WP; PCP
--                                                 2025       M.            *Mascott, J.;          between
WITHHOL                                                                     *Boizelle, A.          attorneys in the
D IN FULL                                                                                          Executive Office
                                                                                                   of the President
                                                                                                   and Mr. Paoletta
                                                                                                   reflecting
                                                                                                   confidential
                                                                                                   communication
                                                                                                   concerning the
                                                                                                   provision of
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13 Re_ Call                     Email    Re: Call   Apr. 15,   *Mascott,     *Paoletta, M.   *Burnham     Email chain        ACP; WP; PCP
- 2 --                                              2025       J.                            , J.;        between
WITHHOL                                                                                      *Boizelle,   attorneys in the
D IN FULL                                                                                    A.           Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paoletta
                                                                                                          reflecting
                                                                                                          confidential
                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
                                                                                                          context of
                                                                                                          litigation.
14 RE Call                      Email    Re: Call   Apr. 15,   *Burnham      *Mascott, J.;   *Boizelle,   Email chain        ACP; WP; PCP
- 3 --                                              2025       , J.          *Paoletta, M.   A.           between
WITHHOL                                                                                                   attorneys in the
D IN FULL                                                                                                 Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paoletta
                                                                                                          reflecting
                                                                                                          confidential
                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
                                                                                                          context of
                                                                                                          litigation.
15 RE_ Call                     Email    Re: Call   Apr. 15,   *Paoletta,    *Burnham, J.;   *Boizelle,   Email chain        ACP; WP; PCP
- 4 --                                              2025       M.            *Mascott, J.    A.           between
WITHHOL                                                                                                   attorneys in the
D IN FULL                                                                                                 Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paoletta
                                                                                                          reflecting
                                                                                                          confidential

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                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
                                                                                                          context of
                                                                                                          litigation.
16 RE_ Call                     Email    Re: Call   Apr. 15,   *Burnham     *Paoletta, M.;   *Boizelle,   Email chain        ACP; WP; PCP
- 5 --                                              2025       , J.         *Mascott, J.     A.           between
WITHHOL                                                                                                   attorneys in the
D IN FULL                                                                                                 Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paoletta
                                                                                                          reflecting
                                                                                                          confidential
                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
                                                                                                          context of
                                                                                                          litigation.
17 RE Call                      Email    Re: Call   Apr. 15,   *Mascott,    *Burnham, J.     *Paoletta,   Email chain        ACP; WP; PCP
- 6 --                                              2025       J.                            M.;          between
WITHHOL                                                                                      *Boizelle,   attorneys in the
D IN FULL                                                                                    A.           Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paoletta
                                                                                                          reflecting
                                                                                                          confidential
                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
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                                                                                                          litigation.

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              National Treasury Employees Union v. Vought, No. 1:25-cv-00381 (DDC) – Defendants’ First Privilege Log

18 RE_ Call                     Email    Re: Call   Apr. 15,   *Mascott,     *Burnham, J.     *Paoletta,   Email chain        ACP; WP; PCP
- 7 --                                              2025       J.                             M.;          between
WITHHOL                                                                                       *Boizelle,   attorneys in the
D IN FULL                                                                                     A.           Executive Office
                                                                                                           of the President
                                                                                                           and Mr. Paoletta
                                                                                                           reflecting
                                                                                                           confidential
                                                                                                           communication
                                                                                                           concerning the
                                                                                                           provision of
                                                                                                           legal advice
                                                                                                           regarding
                                                                                                           potential RIF in
                                                                                                           context of
                                                                                                           litigation.
19 RE Call                      Email    Re: Call   Apr. 15,   *Paoletta,    *Mascott, J.;    *Boizelle,   Email chain        ACP; WP; PCP
- 8 --                                              2025       M.            *Burnham, J.     A.           between
WITHHOL                                                                                                    attorneys in the
D IN FULL                                                                                                  Executive Office
                                                                                                           of the President
                                                                                                           and Mr. Paoletta
                                                                                                           reflecting
                                                                                                           confidential
                                                                                                           communication
                                                                                                           concerning the
                                                                                                           provision of
                                                                                                           legal advice
                                                                                                           regarding
                                                                                                           potential RIF in
                                                                                                           context of
                                                                                                           litigation.
20 RE_ Call                     Email    Re: Call   Apr. 15,   *Burnham      *Paoletta, M.;   *Boizelle,   Email chain        ACP; WP; PCP
- 9 --                                              2025       , J.          *Mascott, J.     A.           between
WITHHOL                                                                                                    attorneys in the
D IN FULL                                                                                                  Executive Office
                                                                                                           of the President
                                                                                                           and Mr. Paoletta
                                                                                                           reflecting
                                                                                                           confidential

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                                                                                                           communication
                                                                                                           concerning the
                                                                                                           provision of
                                                                                                           legal advice
                                                                                                           regarding
                                                                                                           potential RIF in
                                                                                                           context of
                                                                                                           litigation.
21 RE_ Call                     Email    Re: Call   Apr. 15,   *Paoletta,    *Mascott, J.;    *Boizelle,   Email chain        ACP; WP; PCP
- 10 --                                             2025       M.            *Burnham, J.     A.           between
WITHHOL                                                                                                    attorneys in the
D IN FULL                                                                                                  Executive Office
                                                                                                           of the President
                                                                                                           and Mr. Paoletta
                                                                                                           reflecting
                                                                                                           confidential
                                                                                                           communication
                                                                                                           concerning the
                                                                                                           provision of
                                                                                                           legal advice
                                                                                                           regarding
                                                                                                           potential RIF in
                                                                                                           context of
                                                                                                           litigation.
22 RE Call                      Email    Re: Call   Apr. 15,   *Mascott,     *Paoletta, M.;   *Boizelle,   Email chain        ACP; WP; PCP
- 11 --                                             2025       J.            *Burnham, J.     A.           between
WITHHOL                                                                                                    attorneys in the
D IN FULL                                                                                                  Executive Office
                                                                                                           of the President
                                                                                                           and Mr. Paoletta
                                                                                                           reflecting
                                                                                                           confidential
                                                                                                           communication
                                                                                                           concerning the
                                                                                                           provision of
                                                                                                           legal advice
                                                                                                           regarding
                                                                                                           potential RIF in
                                                                                                           context of
                                                                                                           litigation.

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              National Treasury Employees Union v. Vought, No. 1:25-cv-00381 (DDC) – Defendants’ First Privilege Log

23 RE_ Call                     Email    Re: Call   Apr. 15,   *Mascott,    *Paoletta, M.;   *Boizelle,   Email chain        ACP; WP; DPP; PCP
- 12 --                                             2025       J.           *Burnham, J.     A.;          between
WITHHOL                                                                                      Shapiro,     attorneys in the
D IN FULL                                                                                    D.           Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paoletta
                                                                                                          reflecting
                                                                                                          confidential
                                                                                                          predecisional
                                                                                                          and deliberative
                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
                                                                                                          context of
                                                                                                          litigation.




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                          EXHIBIT B
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Doc #        File Name       BATES RANGE PRODUCTION             DOC      SUBJECT DATE                FROM                             TO                        CC        SUBJECT MATTER              PRIVILEGE
                                                               TYPE                                                                                                                                   ASSERTION
 1      Reference Material   N/A                              Email      Reference Feb. 25, Martinzez, Adam          *Stout, Abigal                                       Email with DOJ           AC; WP
                                                                         Material  2025                                                                                   counsel concrning RIF
                                                                                                                                                                          made for purposes of
                                                                                                                                                                          rendering legal advice
                                                                                                                                                                          in conifdence without
                                                                                                                                                                          disclosure to outside
                                                                                                                                                                          parties and made in
                                                                                                                                                                          connection with
                                                                                                                                                                          litigation.

 2      AM response RE_      CFPB_02391 to    4.24 Martinez   Email      RE: CFPB Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;       Bishop, James   Redacted email chain DPP; ACP; WP
        CFPB RIF             CFPB_02392       Production                 RIF Work 2025                               *Paoletta, Mark; Shapiro, Daniel;                    reflecting confidential
        Work_Redacted                                                                                                *Dorfman, Victoria; *Boizelle,                       predecisional
                                                                                                                     Ashley, Davis, Steven; *Lewin,                       deliberations
                                                                                                                     Jeremy; Kliger, Gavin; Chilbert,                     concerning potential
                                                                                                                     Christopher                                          RIF, discussion of the
                                                                                                                                                                          litigation, and seeking
                                                                                                                                                                          legal advice concerning
                                                                                                                                                                          that topic.




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                                                 National Treasury Employees Union v. Vought , No. 1:25-cv-00381 (DDC) – Defendants’ Second Privilege Log



3   FW_ CFPB RIF Work CFPB_02463 to    4.24 Martinez   Email      FW: CFPB Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;       Bishop, James   Redacted email chain DPP; ACP; WP
    1_Redacted        CFPB_02464       Production                 RIF Work 2025                               Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                              *Dorfman, Victoria; *Boizelle,                       predecisional
                                                                                                              Ashley, Davis, Steven; *Lewin,                       deliberations
                                                                                                              Jeremy; Kliger, Gavin; Chilbert,                     concerning potential
                                                                                                              Christopher                                          RIF, discussion of the
                                                                                                                                                                   litigation, and seeking
                                                                                                                                                                   legal advice concerning
                                                                                                                                                                   that topic.




4   RE_ CFPB RIF Work CFPB_02594 to    4.24 Martinez   Email      RE: CFPB Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;       Bishop, James   Redacted email chain DPP; ACP; WP
    response_Redacted CFPB_02595       Production                 RIF Work 2025                               Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                              *Dorfman, Victoria; *Boizelle,                       predecisional
                                                                                                              Ashley, Davis, Steven; *Lewin,                       deliberations
                                                                                                              Jeremy; Kliger, Gavin; Chilbert,                     concerning potential
                                                                                                              Christopher                                          RIF, discussion of the
                                                                                                                                                                   litigation, and seeking
                                                                                                                                                                   legal advice concerning
                                                                                                                                                                   that topic.




                                                                                                    2
                                       Case 1:25-cv-00381-ABJ                       Document 134                  Filed 04/27/25                   Page 26 of 39
                                                  National Treasury Employees Union v. Vought , No. 1:25-cv-00381 (DDC) – Defendants’ Second Privilege Log



5   FW_ CFPB RIF Work CFPB_02461 to     4.24 Martinez   Email      FW: CFPB Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;       Bishop, James   Redacted email chain DPP; ACP; WP
    _Redacted         CFPB_02462        Production                 RIF Work 2025                               Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                               *Dorfman, Victoria; *Boizelle,                       predecisional
                                                                                                               Ashley, Davis, Steven; *Lewin,                       deliberations
                                                                                                               Jeremy; Kliger, Gavin; Chilbert,                     concerning potential
                                                                                                               Christopher                                          RIF, discussion of the
                                                                                                                                                                    litigation, and seeking
                                                                                                                                                                    legal advice concerning
                                                                                                                                                                    that topic.




8   Re: Privileged email CFPB_02634-    4.24 Martinez   Email      Re:         Apr. 17, *Dorfman, Victoria     Martinez, Adam                                       Redacted email chain AC; WP
    vd and am – redacted CFPB_02638     Production                 Privileged: 2025                                                                                 reflecting confidential
                                                                                                                                                                    legal advice concerning
                                                                                                                                                                    RIF and reflecting
                                                                                                                                                                    communications with
                                                                                                                                                                    DOJ counsel
                                                                                                                                                                    concerning litigation.




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9   RE: CFPB RIF Work N/A               Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;       Bishop, James   Redacted email chain DPP; AC; WP
    Redacted                                       WORK     2025                               Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                               *Dorfman, Victoria; *Boizelle,                       predecisional
                                                                                               Ashley, Davis, Steven; *Lewin,                       deliberations
                                                                                               Jeremy; Kliger, Gavin; Chilbert,                     concerning potential
                                                                                               Christopher                                          RIF, discussion of the
                                                                                                                                                    litigation, and seeking
                                                                                                                                                    legal advice concerning
                                                                                                                                                    that topic.




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10   FW: CFPB RIF Work- CFPB_02752-    4.24 Martinez   Email      CFPB RIF Apr. 13, Paoletta, Mark; Vought,   Vought, Russell; Martinez, Adam;       Bishop, James   Redacted email chain DPP; AC; WP
     5_ Redacted        CFPB_02753     Production                 WORK     2025     Russell                   Gueye, Jafnar; *Paoletta, Mark;                        reflecting confidential
                                                                                                              *Shapiro, Daniel; *Dorfman,                            predecisional
                                                                                                              Victoria; *Boizelle, Ashley, Davis,                    deliberations
                                                                                                              Steven; *Lewin, Jeremy; Kliger,                        concerning potential
                                                                                                              Gavin; Chilbert, Christopher                           RIF, discussion of the
                                                                                                                                                                     litigation, including
                                                                                                                                                                     discussions with
                                                                                                                                                                     counsel for CFPB and
                                                                                                                                                                     DOJ and seeking legal
                                                                                                                                                                     advice concerning that
                                                                                                                                                                     topic.




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                                                    National Treasury Employees Union v. Vought , No. 1:25-cv-00381 (DDC) – Defendants’ Second Privilege Log



11   FW: CFPB RIF Work- CFPB_02754-    4.24 Martinez      Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;        Bishop, James   Redacted email chain DPP; ACP; WP
     6_ Redacted        CFPB_02755     Production                    WORK     2025                               *Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                                 *Dorfman, Victoria; *Boizelle,                        predecisional
                                                                                                                 Ashley, Davis, Steven; *Lewin,                        deliberations
                                                                                                                 Jeremy; Kliger, Gavin; Chilbert,                      concerning potential
                                                                                                                 Christopher                                           RIF, discussion of the
                                                                                                                                                                       litigation, and seeking
                                                                                                                                                                       legal advice concerning
                                                                                                                                                                       that topic.




12   Re: CFPB RIF Work- CFPB_02768-    4.24 2nd           Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;        Bishop, James   Redacted email chain DPP; ACP; WP
     2_ Redacted        CFPB_02769     Production                    WORK     2025                               *Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                                 *Dorfman, Victoria; *Boizelle,                        predecisional
                                                                                                                 Ashley, Davis, Steven; *Lewin,                        deliberations
                                                                                                                 Jeremy; Kliger, Gavin; Chilbert,                      concerning potential
                                                                                                                 Christopher                                           RIF, discussion of the
                                                                                                                                                                       litigation, and seeking
                                                                                                                                                                       legal advice concerning
                                                                                                                                                                       that topic.




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13   Re: CFPB RIF Work- CFPB_02770-      4.24 2nd           Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;        Bishop, James   Redacted email chain DPP; ACP; WP
     4_ Redacted        CFPB_02773       Production                    WORK     2025                               *Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                                   *Dorfman, Victoria; *Boizelle,                        predecisional
                                                                                                                   Ashley, Davis, Steven; *Lewin,                        deliberations
                                                                                                                   Jeremy; Kliger, Gavin; Chilbert,                      concerning potential
                                                                                                                   Christopher                                           RIF, discussion of the
                                                                                                                                                                         litigation, and seeking
                                                                                                                                                                         legal advice concerning
                                                                                                                                                                         that topic.




15   Re: CFPB RIF Work- CFPB_01520 to    4.23 5 PM          Email      CFPB RIF Apr. 13, Vought, Russell           *Martinez, Adam; Gueye, Jafnar;       Bishop, James   Redacted email chain DPP; ACP; WP
     Redacted           CFPB_01522       Production                    WORK     2025                               *Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                                   *Dorfman, Victoria; *Boizelle,                        predecisional
                                                                                                                   Ashley, Davis, Steven; *Lewin,                        deliberations
                                                                                                                   Jeremy; Kliger, Gavin; Chilbert,                      concerning potential
                                                                                                                   Christopher                                           RIF, discussion of the
                                                                                                                                                                         litigation, and seeking
                                                                                                                                                                         legal advice concerning
                                                                                                                                                                         that topic.




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16   Re: CFPB RIF Work- CFPB_02065 to    4.23 5 PM          Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;        Bishop, James   Redacted email chain DPP; ACP; WP
     Redacted           CFPB_02068       Production                    WORK     2025                               *Paoletta, Mark; *Shapiro, Daniel;                    reflecting confidential
                                                                                                                   *Dorfman, Victoria; *Boizelle,                        predecisional
                                                                                                                   Ashley, Davis, Steven; *Lewin,                        deliberations
                                                                                                                   Jeremy; Kliger, Gavin; Chilbert,                      concerning potential
                                                                                                                   Christopher                                           RIF, discussion of the
                                                                                                                                                                         litigation, and seeking
                                                                                                                                                                         legal advice concerning
                                                                                                                                                                         that topic.




17   04142025 through CFPB_03029 to      4.24 4th           Handwritte Meeting    Apr. 14, McClung, Julia                                                                Redacted handwritten DPP; AC; WP
     04162025 McCLung CFPB_03035         Production         n Notes    Notes      2025 to                                                                                notes reflecting
     Meeting Notes                                                                Apr. 16,                                                                               confidential
     Redacted                                                                     2025                                                                                   predecisional
                                                                                                                                                                         deliberations
                                                                                                                                                                         concernign RIF and
                                                                                                                                                                         reflecting legal advice
                                                                                                                                                                         in context of litigation.




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18   Copy of OPS       CFPB_02900      4.24 4th           Spreadshee OPS        Apr. 14, McClung, Julia                                                         Redacted spreadsheet DPP; WP
     Scenario Planning                 Production         t          Scenario   2025                                                                            reflecting predecisional
     (TABS REMOVED)                                                  Planning                                                                                   and deliberative
                                                                                                                                                                discussion about
                                                                                                                                                                potential RIF in context
                                                                                                                                                                of litigation and
                                                                                                                                                                reflecting legal
                                                                                                                                                                analysis.




19   OPS Scenario        CFPB_02901    4.24 4th           Spreadshee OPS        Feb. 4,   McClung, Julia                                                        Redacted spreadsheet DPP; WP
     Planning (TABS                    Production         t          Scenario   2025                                                                            reflecting predecisional
     REMOVED)                                                        Planning                                                                                   and deliberative
                                                                                                                                                                discussion about
                                                                                                                                                                potential RIF in context
                                                                                                                                                                of litigation and
                                                                                                                                                                reflecting legal
                                                                                                                                                                analysis.




     Re: Proposed CFPB   CFPB_03632    4.24 Kliger        Email      Proposed Apr. 13, *Lewin, Jeremy            *Paoletta, Mark; Vought, Russell;              Email chain reflecting AC/WP
A RIF List                             Production                    CFPB RIF 2025                               Kliger, Gavin                                  confidential legal
                                                                     List                                                                                       advice from counsel
                                                                                                                                                                concerning RIF made
                                                                                                                                                                in context of litigation.




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    CFPB RIF Work          CFPB_03633               Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; Gueye, Jafnar;                   Email reflecting         AC/WP
                                                               Work     2025                               *Paoletta, Mark; *Shapiro, Daniel;               request for confidential
                                                                                                           *Dorfman, Victoria; *Boizelle,                   legal advice from
B                                                                                                          Ashley, Davis, Steven; *Lewin,                   counsel concerning RIF
                                                                                                           Jeremy; Kliger, Gavin; Chilbert,                 made in context of
                                                                                                           Christopher                                      litigation.




    Re:CFPB RIF Work       CFPB_03634               Email      CFPB RIF Apr. 13, Paoletta, Mark            Vought, Russell; Martinez, Adam;                 Email reflecting         AC/WP
                                                               Work     2025                               Gueye, Jafnar; *Paoletta, Mark;                  request for confidential
                                                                                                           *Shapiro, Daniel; *Dorfman,                      legal advice from
                                                                                                           Victoria; *Boizelle, Ashley, Davis,              counsel concerning RIF
C                                                                                                          Steven; *Lewin, Jeremy; Kliger,                  made in context of
                                                                                                           Gavin; Chilbert, Christopher                     litigation.




    Re: Activity in Case   CFPB_03671               Email      Current      Apr. 18, Kliger, Gavin         *Paoletta, Mark                                  Email with attachments AC/WP
    1:25-cv-00381-ABJ                                          Litigation   2025                                                                            reflecting confidential
    National Treasury                                                                                                                                       discussion of RIF and
    Employees Union v.                                                                                                                                      reflecting the advice of
    Vought Order                                                                                                                                            legal counsel in the
D                                                                                                                                                           context of the litigation




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     CFPB Statutory        CFPB_03676               Email      CFPB                *Lewin, Jeremy          *Boizelle, Ashley; *Burnham, James;                   Email with attachments AC/WP
     Functions/ RIF List                                       Statutory                                   *Fox, Joshua; *Raynor, Austin                         reflecting confidential
                                                               Functions/                                                                                        discusison of legal
E                                                              RIF List                                                                                          advice in the context of
                                                                                                                                                                 litigation.




21   Re: CFPB RIF Work N/A                          Email      CFPB RIF            Paoletta, Mark          Vought, Russell; Martinez, Adam;      Bishop, James   Email chain reflecting ACP; WP; DPP
                                                               Work                                        Gueye, Janfar; *Shapiro, Daniel;                      confidential
                                                                                                           *Dorfman, Victoria; *Boizelle,                        predecisional
                                                                                                           Ashley; Davis, Steven; *Lewin,                        deliberations
                                                                                                           Jeremy; Kliger, Gavin; Chilbert,                      concerning potential
                                                                                                           Christopher                                           RIF, discussion of the
                                                                                                                                                                 litigation, including
                                                                                                                                                                 discussions with
                                                                                                                                                                 counsel for CFPB and
                                                                                                                                                                 DOJ and seeking legal
                                                                                                                                                                 advice concerning that
                                                                                                                                                                 topic.




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22   CFPB RIF Work     N/A               Email      CFPB RIF Apr. 13, Vought, Russell           Martinez, Adam; *Paoletta, Mark;    Bishop, James   Email reflecting        ACP; WP; DPP
                                                    Work     2025                               Gueye, Janfar; *Shapiro, Daniel;                    confidential
                                                                                                *Dorfman, Victoria; *Boizelle,                      predecisional
                                                                                                Ashley; Davis, Steven; *Lewin,                      deliberations
                                                                                                Jeremy; Kliger, Gavin; Chilbert,                    concerning potential
                                                                                                Christopher                                         RIF, discussion of the
                                                                                                                                                    litigation, and seeking
                                                                                                                                                    legal advice concerning
                                                                                                                                                    that topic.




23   Re: Privileged:   N/A               Email      CFPB RIF Apr. 17, Martinez, Adam            *Dorfman, Victoria                                  Email chain reflecting   ACP
                                                    Work     2025                                                                                   confidential legal
                                                                                                                                                    discussion about RIF .




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                                    National Treasury Employees Union v. Vought , No. 1:25-cv-00381 (DDC) – Defendants’ Second Privilege Log



24   Re:CFPB RIF Work   N/A               Email      CFPB RIF Apr. 13, *Paoletta, Mark           Martinez, Adam; Vought, Russell;     Bishop, James   Redacted email chain DPP; ACP; WP
                                                     Work     2025                               Gueye, Janfar; *Shapiro, Daniel;                     reflecting confidential
                                                                                                 *Dorfman, Victoria; *Boizelle,                       predecisional
                                                                                                 Ashley; Davis, Steven; *Lewin,                       deliberations
                                                                                                 Jeremy; Kliger, Gavin; Chilbert,                     concerning potential
                                                                                                 Christopher                                          RIF, discussion of the
                                                                                                                                                      litigation, including
                                                                                                                                                      discussions with
                                                                                                                                                      counsel for CFPB and
                                                                                                                                                      DOJ and seeking legal
                                                                                                                                                      advice concerning that
                                                                                                                                                      topic.




25   Fw: NTEU v. Vought N/A               Email      Current      Apr. 21, *McArthur, Eric       *Shapiro, Daniel; *Paoletta, Mark;                   Email chain reflecting ACP; WP
     Call with CFPB                                  Litigation   2025                           *Dorfman, *Victoria; *Stallings,                     confidential discussion
                                                                                                 AnnaGrace; Martinez, Adam, Gueye,                    between DOJ and
                                                                                                 Jafnar                                               CFPB concerning D.C.
                                                                                                                                                      Circuit stay and
                                                                                                                                                      reflecting legal advice.




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26   Re: CFPB RIF Work N/A                   Email      CFPB RIF Apr. 21, *Paoletta, Mark           Martinez, Adam; Vought, Russell;    Bishop, James   Redacted email chain DPP; ACP; WP
                                                        Work     2025                               Gueye, Janfar; *Shapiro, Daniel;                    reflecting confidential
                                                                                                    *Dorfman, Victoria; *Boizelle,                      predecisional
                                                                                                    Ashley; Davis, Steven; Lewin,                       deliberations
                                                                                                    Jeremy; Kliger, Gavin; Chilbert,                    concerning potential
                                                                                                    Christopher                                         RIF, discussion of the
                                                                                                                                                        litigation, including
                                                                                                                                                        discussions with
                                                                                                                                                        counsel for CFPB and
                                                                                                                                                        DOJ and seeking legal
                                                                                                                                                        advice concerning that
                                                                                                                                                        topic.




27   Re: Time to Execute   N/A               Email      CFPB RIF Apr. 15, *Mascott, Jennifer        Vought, Rusell                      *Warrington,      Email chain reflecting DPP; ACP; WP; PCP
     the RIF                                                     2025                                                                   David; *Paoletta, confidential
                                                                                                                                        Mark              predecisional
                                                                                                                                                          deliberative
                                                                                                                                                          communications with
                                                                                                                                                          WHCO concerning
                                                                                                                                                          potential RIF in context
                                                                                                                                                          of litigation.




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                          EXHIBIT C
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Doc #   File Name   BATES   PRODUC      DOC     SUBJECT     DATE      FROM          TO       CC     SUBJECT MATTER        PRIVILEGE
                    RANGE    TION       TYPE                                                                              ASSERTION


        FW:      N/A                  Email     CFPB RIF Apr. 13,   *Paoletta,   Martinez,         Email chain reflecting DPP; WP
F       Proposed                                Work     2025       Mark         Adam              predecisional
        CFPB RIF                                                                                   deliberations concerning
        List                                                                                       proposed RIF and
                                                                                                   prepared in
                                                                                                   consideration of
                                                                                                   litigation.
